Case 2:15-cV-O4424-AG-UWHL]1:33U§;1@R1;14§§li§;fl£PH/§O§YF 1 of 1 Page |D #:20847

Central District of California

APPLICATION TO THE CLERK TO TAX COSTS

ATEN International Co., Ltd.
V. Case Number: 2215-CV-04424-AG-AJW
Uniclass Technology Co., Ltd., et al.

 

Iudgment was entered in this action on 12/12/2017 / 469 against ATEN International Co., Ltd.
Date Docket No.

 

NO HEARING ON THIS APPLICATION WILL BE HELD UNLESS THE CLERK NOTIFIES THE PARTIES OTHERWISE.

Filing fees: see L.R. 54-3.1 ....................................................................................................
Fees for service of process: see L.R. 54-3.2 ..................................................................................
United States Marshal’s fees: see L.R. 54-3.3 ...............................................................................
Reporter’s transcripts: see L.R. 54-3.4 .......................................................................................
Depositions: see L.R. 54-3.5 .................................................................................................. $17,327.00

Witness fees (itemize on page 2): see L.R. 54-3.6 .......................................................................... $9,112.00
Interpreter’s and translator’s fees: see L.R. 54-3.7 ......................................................................... $5,711.72

Docket fees: see L.R. 54-3.8 ...................................................................................................
Masters, commissioners and receivers: see L.R. 54-3.9 ...................................................................
Certification, exempliflcation and reproduction of documents: see L.R. 54-3.10 ..................................... $3,912.93
Premiums on bonds and undertakings: see L.R. 54-3.11 .................................................................
Other Costs: see L.R. 54-3.12 (attach court order) ........................................................................
State Court costs: see L.R. 54-3.13 ...........................................................................................
Costs on appeal: see L.R. 54-4 ................................................................................................
Cost of a bankruptcy appeal to the District Court: see L.R. 54-5 ........................................................

TOTAL $3 6,063 .65

NOTE: You must attach an itemization and documentation supporting all requested fees and costs. Documentation includes
receipts, orders, and stipulations. All receipts must be self-explanatory.
DECLARATION
I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the

services for which fees have been charged were actually and necessarily performed. A copy of this application has been served on all
parties by:

The Court's CM/ECF System

|:| Conventional service by first class mail

|:| Other

 

 

/s/ William B. Chadwick William B. Chadwick

Signature Print Name

 

 

Attorney for: Defendants Uniclass Technology Co., Ltd., et al.

 

Costs are taxed in the amount of

 

 

By:
Clerk of Court Deputy Clerk Date

 

 

CV-59 (12/14) BILL OF COSTS Page l of 2

